     Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 1 of 15 PageID #:1853




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

MONSTER ENERGY COMPANY,
                                                          Case No. 24-cv-01193
                   Plaintiff,
                                                          Judge Matthew F. Kennelly
v.

DONGGUAN SIWEILU OUTDOOR
PRODUCTS CO., LTD., et al.,

                   Defendants.


              DEFAULT JUDGMENT ORDER AS TO CERTAIN DEFENDANTS

          This action having been commenced by Plaintiff Monster Energy Company (“Plaintiff” or

“MEC”) against the fully interactive, e-commerce store 1 operating under the seller aliases

identified on Schedule A attached hereto (the “Seller Aliases”), and Plaintiff having moved for

entry of Default and Default Judgment against the defendants identified on Schedule A attached

hereto,     with     the    exception   of   Defendants    A1DRJUODPRUJ3Z          (Def.       No.   35),

guangzhoushichaohuamaoyishanghang (Def. No. 51), guangzhoushihuixidianshanggongzuoshi

(Def. No. 52), Henghe tidal current (Def. No. 54), Huaihao Store (Def. No. 55), KOUKOUQIKOU

(Def. No. 57), and TOPEPER (Def. No. 65) (collectively, “Defaulting Defendants”);

          This Court having entered upon a showing by Plaintiff, a temporary restraining order

against Defaulting Defendants which included an asset restraining order;

          Plaintiff having properly completed service of process on Defaulting Defendants, the

combination of providing notice via electronic publication and e-mail, along with any notice that

Defaulting Defendants received from payment processors, being notice reasonably calculated


1
    The e-commerce store URLs are listed on Schedule A hereto under the Online Marketplaces.
   Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 2 of 15 PageID #:1854




under all circumstances to apprise Defaulting Defendants of the pendency of the action and

affording them the opportunity to answer and present their objections; and

       Defaulting Defendants having failed to answer the Complaint or otherwise plead, and the

time for answering the Complaint having expired;

        THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

 Defendants since Defaulting Defendants directly target their business activities toward

 consumers in the United States, including Illinois. Specifically, Defaulting Defendants have

 targeted sales to Illinois residents by setting up and operating e-commerce stores that target

 United States consumers using one or more Seller Aliases, offer shipping to the United States,

 including Illinois, accept payment in U.S. dollars and/or funds from U.S. bank accounts, and

 have sold products bearing unauthorized copies of the Monster Energy Copyrighted Works

 (“Stylized claw with jagged edges (original version)” (U.S. Copyright Registration No. VA 1-

 789-900), issued by the Register of Copyrights on October 11, 2011, and the corresponding

 supplemental registration changing ownership name from Hansen Beverages Company to

 Monster Energy Company: VA 1-433-242) and/or using infringing and counterfeit versions of

 the federally registered    MONSTER ENERGY trademarks (the MONSTER ENERGY

 Trademarks”) (a list of which is included in the chart below) to residents of Illinois. A list of

 the MONSTER ENERGY Trademarks is included in the below chart.


                            REGISTRATION               REGISTERED
                              NUMBER                   TRADEMARK
                              3,057,061              MONSTER ENERGY
                              4,036,681
                              3,044,315
                              4,036,680
                              5,820,689
                              5,661,940


                                                 2
Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 3 of 15 PageID #:1855




                    REGISTRATION           REGISTERED
                      NUMBER               TRADEMARK
                      2,903,214




                       4,051,650




                       3,963,669




                       3,963,668




                       4,011,301




                                     3
Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 4 of 15 PageID #:1856




                    REGISTRATION           REGISTERED
                      NUMBER               TRADEMARK
                      4,822,675




                       3,134,841




                       3,923,683




                       3,908,601




                       3,908,600




                                     4
Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 5 of 15 PageID #:1857




                    REGISTRATION           REGISTERED
                      NUMBER               TRADEMARK
                      3,914,828




                       4,332,062




                       4,660,598




                       3,134,842          M MONSTER
                       3,044,314           ENERGY

                       4,634,053      MONSTER ASSAULT


                       3,959,457         JAVA MONSTER


                       3,852,118      LO-CARB MONSTER
                                          ENERGY

                       5,570,782




                                     5
Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 6 of 15 PageID #:1858




                    REGISTRATION           REGISTERED
                      NUMBER               TRADEMARK
                      5,580,962




                       5,551,192         MONSTER ARMY


                       5,551,230




                       5,022,676




                       4,865,702




                       5,889,011




                       6,451,182




                                     6
     Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 7 of 15 PageID #:1859




                            REGISTRATION                REGISTERED
                              NUMBER                    TRADEMARK
                              6,760,278                 MONSTER




        This Court further finds that Defaulting Defendants are liable for willful federal trademark

infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin (15 U.S.C. §

1125(a)), and copyright infringement (17 U.S.C. §§ 106 and 501, et seq.).

        IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default, and that

this Final Judgment is entered against Defaulting Defendants.

        IT IS FURTHER ORDERED that:

1.      Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

        confederates, and all persons acting for, with, by, through, under, or in active concert with

        them be permanently enjoined and restrained from:

        a. using the MONSTER ENERGY Trademarks or any reproductions, counterfeit copies,

           or colorable imitations thereof in any manner in connection with the distribution,

           marketing, advertising, offering for sale, or sale of any product that is not a genuine

           Monster Energy product or not authorized by Plaintiff to be sold in connection with the

           MONSTER ENERGY Trademarks;

        b. reproducing, distributing copies of, making derivative works of, or publicly displaying

           the Monster Energy Copyrighted Works in any manner without the express

           authorization of Plaintiff;

        c. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           Monster Energy product or any other product produced by Plaintiff, that is not

                                                 7
     Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 8 of 15 PageID #:1860




           Plaintiff’s or not produced under the authorization, control, or supervision of Plaintiff

           and approved by Plaintiff for sale under the MONSTER ENERGY Trademarks and/or

           the Monster Energy Copyrighted Works;

        d. committing any acts calculated to cause consumers to believe that Defaulting

           Defendants’ products are those sold under the authorization, control, or supervision of

           Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

        e. further infringing the MONSTER ENERGY Trademarks and/or the Monster Energy

           Copyrighted Work and damaging Plaintiff’s goodwill; and

        f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

           offered for sale, and which bear any of Plaintiff’s trademarks, including the MONSTER

           ENERGY Trademarks, or any reproductions, counterfeit copies or colorable imitations

           thereof and/or which bear the Monster Energy Copyrighted Works.

2.      Upon Plaintiff’s request, any third party with actual notice of this Order who is providing

        services for any of the Defaulting Defendants, or in connection with any of the Defaulting

        Defendants’ Online Marketplaces, including, without limitation, any online marketplace

        platforms such as eBay, Inc. (“eBay”), AliExpress, Alibaba Group Holding Ltd.

        (“Alibaba”), Amazon.com, Inc. (“Amazon”) ContextLogic, Inc. d/b/a Wish.com

        (“Wish.com”), Walmart, Inc. (“Walmart”), Etsy, Inc. (“Etsy”), WhaleCo, Inc. (“Temu”),

        and DHgate.com Inc. (“DHgate”) (collectively, the “Third Party Providers”), shall within

        seven (7) calendar days of receipt such notice, disable and cease displaying any

        advertisements used by or associated with Defaulting Defendants in connection with the


                                                 8
     Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 9 of 15 PageID #:1861




        sale of counterfeit and infringing goods using the MONSTER ENERGY Trademarks

        and/or which bear the Monster Energy Copyrighted Works.

3.      Pursuant to 15 U.S.C. § 1117(c)(2), Plaintiff is awarded statutory damages from each of

        the Defaulting Defendants in the amount of one hundred thousand dollars ($100,000) for

        use of counterfeit MONSTER ENERGY Trademarks on products sold through at least the

        Defaulting Defendants’ Online Marketplaces.

4.      Pursuant to 17 U.S.C. § 504(c)(2), Plaintiff is awarded statutory damages from each of the

        Defaulting Defendants in the amount of fifty thousand dollars ($50,000) for willful

        copyright infringement of the Monster Energy Copyrighted Works.

5.      Plaintiff may serve this Order on Third Party Providers, including PayPal, Inc. (“PayPal”),

        eBay, Alipay, Alibaba, Ant Financial Services Group (“Ant Financial”), Wish.com,

        Walmart, Etsy, DHgate, Temu, and Amazon Pay, by e-mail delivery to the e-mail addresses

        Plaintiff used to serve the Temporary Restraining Order on the Third Party Providers.

6.      Any Third Party Providers holding funds for Defaulting Defendants, including PayPal, Inc.

        (“PayPal”), eBay, Alipay, Alibaba, AliExpress, Wish.com, Ant Financial Services Group

        (“Ant Financial”), Walmart, Etsy, DHgate, Temu, and Amazon Pay, shall, within seven (7)

        calendar days of receipt of this Order, permanently restrain and enjoin any accounts

        connected to Defaulting Defendants’ Seller Aliases or the Online Marketplaces from

        transferring or disposing of any funds (up to the statutory damages awarded in Paragraphs

        3 and 4 above) or other of Defaulting Defendants’ assets.

7.      All monies (up to the amount of the statutory damages awarded in Paragraphs 3 and 4

        above) currently restrained in Defaulting Defendants’ financial accounts, including monies

        held by Third Party Providers such as PayPal, eBay, Alipay, Alibaba, AliExpress,


                                                 9
     Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 10 of 15 PageID #:1862




         Wish.com, Ant Financial, Walmart, Etsy, DHgate, Temu, and Amazon Pay, are hereby

         released to Plaintiff as partial payment of the above-identified damages, and Third Party

         Providers, including PayPal, eBay, Alipay, Alibaba, AliExpress, Wish.com, Ant Financial,

         Walmart, Etsy, DHgate, Temu, and Amazon Pay, are ordered to release to Plaintiff the

         amounts from Defaulting Defendants’ financial accounts within seven (7) calendar days of

         receipt of this Order.

8.       Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

         Defendant, Plaintiff shall have the ongoing authority to serve this Order on Third Party

         Providers, including PayPal, eBay, Alipay, Alibaba, Ant Financial, Wish.com, Walmart,

         DHgate, Temu, and Amazon Pay, in the event that any new financial accounts controlled

         or operated by Defaulting Defendants are identified. Upon receipt of this Order, Third Party

         Providers, including PayPal, eBay, Alipay, Alibaba, Ant Financial, Wish.com, Walmart,

         Etsy, DHgate, Temu, and Amazon Pay, shall within seven (7) calendar days:

         a. locate all accounts and funds connected to Defaulting Defendants’ Seller Aliases and

            Online Marketplaces, including, but not limited to, any financial accounts connected to

            the information listed in Schedule A hereto, the e-mail addresses identified in Exhibit

            3 to the Declaration of Bruce Kingsland, and any e-mail addresses provided for

            Defaulting Defendants by third parties;

         b. restrain and enjoin such accounts or funds from transferring or disposing of any money

            or other of Defaulting Defendants’ assets; and

         c. release all monies, up to the above identified statutory damages award, in Defaulting

            Defendants’ financial accounts to Plaintiff’s as partial payment of the above-identified

            damages within seven (7) calendar days of receipt of this Order.


                                                 10
     Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 11 of 15 PageID #:1863




9.       In the event that Plaintiff identifies any additional online marketplace accounts, domain

         names, or financial accounts owned by Defaulting Defendants, Plaintiff may send notice

         of any supplemental proceeding to Defaulting Defendants by e-mail at the e-mail addresses

         identified in Exhibit 3 to the Declaration of Bruce Kingsland and any e-mail addresses

         provided for Defaulting Defendants by third parties.

10.      The ten thousand dollar ($10,000) surety bond posted by Plaintiff is hereby released to

         Plaintiff or its counsel, Greer, Burns, & Crain, Ltd. The Clerk of the Court is directed to

         return the surety bond previously deposited with the Clerk of the Court to Plaintiff or its

         counsel.




This is a Final Judgment.

DATED: April 15. 2024


                                              ___________________________________
                                              Matthew F. Kennelly
                                              United States District Judge




                                                 11
 Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 12 of 15 PageID #:1864




Monster Energy Company v. Dongguan Siweilu Outdoor Products Co., Ltd., et al.
                          - Case No. 24-cv-01193

                                    Schedule A


                           Defendant Online Marketplaces
No                         URL                            Name / Seller Alias
 1    siweilu.en.alibaba.com                 Dongguan Siweilu Outdoor Products Co., Ltd.
                                             Jinhua Wvcool Refrigeration Equipment Co.,
  2   wvcool.en.alibaba.com                  Ltd
  3   jayhoo.en.alibaba.com                  Ningbo Beejay Toys Co.,Ltd
  4   duolan.en.alibaba.com                  Taizhou Duolan Trading Co., Ltd.
  5   lingqikeji.en.alibaba.com              Yongkang Lingqi Technology Co., Ltd.
  6   yeahsun03.en.alibaba.com               Zhejiang Yeahsun Import&Export Co., Ltd.
  7   aliexpress.com/store/1101254272        Assier Store
  8   aliexpress.com/store/1102732439        Bmw 72 Store
  9   aliexpress.com/store/1102180662        Case Studio Store
 10   aliexpress.com/store/1101148443        daydayup Store
 11   aliexpress.com/store/1102039881        DIY Charms Pendants Store
 12   aliexpress.com/store/1102682434        Fashion Phone Case Store Store
 13   aliexpress.com/store/1101364323        FIREBROS Official Store
 14   aliexpress.com/store/1102018493        Giyu Great shoe charms Store
 15   aliexpress.com/store/1101339241        jiayao Store
 16   aliexpress.com/store/1102963993        Lentos Car Motorcycle Supplies Store
 17   aliexpress.com/store/1101053573        MOC BRICKS Store
 18   aliexpress.com/store/1102263493        Monster Energy Store
 19   aliexpress.com/store/1102318444        Mrs Patch Store
 20   aliexpress.com/store/1102198226        NONO Store
 21   aliexpress.com/store/1102663112        SHIMANO Outdoor Supplies Store
 22   aliexpress.com/store/1102299222        Shop1102301218 Store
 23   aliexpress.com/store/1102313540        Shop1102314540 Store
 24   aliexpress.com/store/1102470265        Shop1102470264 Store
 25   aliexpress.com/store/1102816324        Shop1102814357 Store
 26   aliexpress.com/store/1102817334        Shop1102819353 Store
 27   aliexpress.com/store/1102843500        Shop1102846496 Store
 28   aliexpress.com/store/1102922129        Shop1102921144 Store
 29   aliexpress.com/store/1102984868        Shop1102992011 Store
 30   aliexpress.com/store/1103054117        Shop1103054116 Store
 31   aliexpress.com/store/1102339935        Xiaoran-51 Store

                                        12
Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 13 of 15 PageID #:1865




32   aliexpress.com/store/1102208597        YJLIN Jewelry Store
33   aliexpress.com/store/1101296157        YU-YSYLED Store
34   aliexpress.com/store/1101936954        Zhiwen Accessories Store
35   EXCEPTED                               EXCEPTED
36   amazon.com/sp?seller=A2NXXVQNN3OVFK    A2NXXVQNN3OVFK
37   amazon.com/sp?seller=A3FQFI97XTHXC6    Cecebracelst
38   amazon.com/sp?seller=A3S4CO64SSMKAR    Celestial queen trade
39   amazon.com/sp?seller=A2KWTRKR85O50Q    Chen Kong Yan
                                            chengdumuzhongzhushangmaoyouxiangong
40   amazon.com/sp?seller=A3AH1JGZ1IA24Y    si
41   amazon.com/sp?seller=A2Q2F7RU7U5JGS    chenjingtiemnzxv
42   amazon.com/sp?seller=A2GY6QS3NYZ5J2    chenxiamei
43   amazon.com/sp?seller=A85TXEKYJSFR      COOLERFIRE SHOP
44   amazon.com/sp?seller=A1JNAYW8YB1P22    CowboyGuru
45   amazon.com/sp?seller=A13QHDB95I0A7I    DGFDHTKJTU
46   amazon.com/sp?seller=A3RB01KXLLFGRC    feilaiju
47   amazon.com/sp?seller=A24FYJ6GFFRIJE    fhfuyusdsd
48   amazon.com/sp?seller=A1AF69RYGXFX5P    Fine canvas poster
49   amazon.com/sp?seller=A3JO6I8POW4811    FlipSports
50   amazon.com/sp?seller=A1FR8YZE9IK6C7    GKEWEA-Tees
51   EXCEPTED                               EXCEPTED
52   EXCEPTED                               EXCEPTED
53   amazon.com/sp?seller=A2TFCM938S97RA    GYZYART
54   EXCEPTED                               EXCEPTED
55   EXCEPTED                               EXCEPTED
56   amazon.com/sp?seller=A1SDPMV4GGALVU    junhaoriyongpinjingyingbu
57   EXCEPTED                               EXCEPTED
58   amazon.com/sp?seller=AIH304XC1KYTZ     KSDGLKF
59   amazon.com/sp?seller=A2B27IVVL8YOSC    laozhaoriyongpindian
60   DISMISSED                              DISMISSED
61   amazon.com/sp?seller=A32IGYT6YFGUMT    OUTDRIVE-US
62   amazon.com/sp?seller=AAW7WWKIVN7GA     QINFENg
63   amazon.com/sp?seller=A2KX21G94HEDQV    QINGZHEN Art
64   amazon.com/sp?seller=A33R06RKT5UAM3    TANG Art
65   EXCEPTED                               EXCEPTED
66   amazon.com/sp?seller=A1L3DOFRUEL45F    WangGianglongan
67   amazon.com/sp?seller=AVX3IUV7Q6LRN     wuhualongjjcv
68   amazon.com/sp?seller=A13SRIFLFSL5V0    xingyueriyongpindian
69   amazon.com/sp?seller=A109AYXNCKAYOG    xinqihulianwanglingshoushanghang
70   amazon.com/sp?seller=A14GS3ZGPTFP6X    xinxiushangmao
71   amazon.com/sp?seller=A2AV50CUE2G6TM    Xiwu-UK-Shop
72   amazon.com/sp?seller=ANSWJ0P7UZC83     yanhepostershop
73   amazon.com/sp?seller=A34S3EQDG7A1NX    YODE
                                       13
Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 14 of 15 PageID #:1866




74    amazon.com/sp?seller=A1PVJ7GLQU3A0S        YuanGuChuan Art
75    amazon.com/sp?seller=A204050WYDTTR6        yunnantuojiujingmaoyouxi
76    amazon.com/sp?seller=A3VPBVGENHYJ2V        zejianpostershop
77    amazon.com/sp?seller=A1LN58NNZUX98Z        zhangyanyuyouhuagongyipin
                                                 ZHANGZHIHAOKESHANGMAOYOUXIANGON
78    amazon.com/sp?seller=AWQ0SQD7J4W1Q         GSI
79    dhgate.com/store/21874441                  hh77777
80    ebay.com/usr/8564141dadasdagnjjjjjj        8564141dadasdagnjjjjjj
81    ebay.com/usr/autumnsunco_0843              autumnsunco_0843
82    ebay.com/usr/baik58                        baik58
83    ebay.com/usr/baldness569                   baldness569
84    ebay.com/usr/binw957776                    binw957776
85    ebay.com/usr/burles_store                  burles_store
86    ebay.com/usr/certainly_clean               certainly_clean
87    ebay.com/usr/chang-2161                    chang-2161
88    DISMISSED                                  DISMISSED
89    ebay.com/usr/don_6842                      don_6842
90    ebay.com/usr/eagleburgmannho-0             eagleburgmannho-0
91    ebay.com/usr/found_everything              found_everything
92    ebay.com/usr/fsdsvrt                       fsdsvrt
93    ebay.com/usr/ghpd-12                       ghpd-12
94    ebay.com/usr/guicai_82                     guicai_82
95    ebay.com/usr/hot_water9                    hot_water9
96    ebay.com/usr/huangyuya                     huangyuya
97    ebay.com/usr/jimu-55                       jimu-55
98    ebay.com/usr/kingdom_molder                kingdom_molder
99    ebay.com/usr/kunmingwaigadianzis0          kunmingwaigadianzis0
100   ebay.com/usr/lianji-36                     lianji-36
101   ebay.com/usr/liugang21450                  liugang21450
102   ebay.com/usr/ming-122697                   ming-122697
103   ebay.com/usr/mxsxzrm                       mxsxzrm
104   ebay.com/usr/night-owl-shop                night-owl-shop
105   ebay.com/usr/qiangbenh3                    qiangbenh3
106   ebay.com/usr/shanxipinleiwangla0           shanxipinleiwangla0
107   ebay.com/usr/shijunebncai520               shijunebncai520
108   ebay.com/usr/shyo-4659                     shyo-4659
109   ebay.com/usr/urlwall-surron-uk             urlwall-surron-uk
110   ebay.com/usr/vodkafans2013                 vodkafans2013
111   ebay.com/usr/wan-14                        wan-14
112   ebay.com/usr/wangxiao63010                 wangxiao63010
113   ebay.com/usr/weibeng399398                 weibeng399398
114   ebay.com/usr/xuewen8665                    xuewen8665
115   ebay.com/usr/yuem2954                      yuem2954
                                            14
Case: 1:24-cv-01193 Document #: 41 Filed: 04/15/24 Page 15 of 15 PageID #:1867




116   ebay.com/usr/yume_4940                     yume_4940
117   ebay.com/usr/zhoufanxiong                  zhoufanxiong
118   DISMISSED                                  DISMISSED
119   temu.com/m-5771214535473.html              Happy Miao
120   DISMISSED                                  DISMISSED
121   DISMISSED                                  DISMISSED
122   DISMISSED                                  DISMISSED
123   walmart.com/seller/101277411               Daily Grocery Store
124   walmart.com/seller/101254866               GreatcityShop
      wish.com/merchant/56102afc0fe84d64fbc95b
125   58                                         Aumu Snow Boots
      wish.com/merchant/615be74be29eb72a6643f
126   e7a                                        chenguixia6567
      wish.com/merchant/5eba281b29e7865740291
127   e0e                                        C-ONE Jewelry
      wish.com/merchant/617d19c6950c75c281670
128   8eb                                        guanlin2134
      wish.com/merchant/59706328d44a9b6a35a5ff
129   a0                                         laodang
      wish.com/merchant/60501e78c49d5c07a3647
130   198                                        lingfeng3528
      wish.com/merchant/5c7f76667003c1307cd874
131   c5                                         trusted store
      wish.com/merchant/5d63bddb283abc6f3c4dd
132   d0c                                        TXYshop




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